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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                              :           CIVIL ACTION
WILLIAM F. WALKER
                                              :
     v.
                                              :
                                                          No. 10-3907
NCO FINANCIAL SYSTEMS, INC.                   :


                  CANCELLATION OF ARBITRATION HEARING

             Please take note that the above-captioned civil action case currently sheduled for

ARBITRATION at 9:30 am on Wednesday, February 9, 2011, has been CANCELLED.

                                                          Michael E. Kunz
                                                          Clerk of Court



                                                          By: /s/Janet Vecchione
                                                          Janet Vecchione
                                                          Deputy Clerk
                                                          Phone:267-299-7074

Date:November 23, 2010

Copies:      Courtroom Deputy to Judge J. Curtis Joyner
             Docket Clerk - Case File

             Counsel:              C. Kimmel, Esq.
                                   R. Enders, Esq.




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